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Exhibit |
GAO study: excerpts
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United States Government Accountability Office

Report to Congressional Requesters
GAO P 9 a

December 2015 ASYLU M

Additional Actions
Needed to Assess
and Address Fraud

Risks

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percent.°' Table 1 shows the number of affirmative and defensive asylum
applications filed each year for fiscal years 2010 through 2014.

Table 1: Affirmative and Defensive Asylum Applications, Fiscal Years 2010 through
2014

Affirm ative Defensive Total applications
Fiscal year applications applications filed
2010 34,374 12,744 47,118
2011 43,148 17,861 61,009
2012 53,293 19,648 72,941
2013 60,076 22,535 82,611
2014 79,485 28,667 108,152
Total 270,376 101,455 371,831

Source: GAO analysis of U.S. Citizenship and Immigration Services (USCIS) and Executive Office for Immigration Review (EOIR) data.
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Note: Defensive applicationsdo not include applicantswho applied affirmatively with USCIS and were

referred to EOIR. Also, according to USCIS officials, USCIS doesnot include dependentswhen
counting affirmative asylum applications.

The number of principal affirmative applications and their eligible
dependents has increased each year from fiscal years 2010 through
2014. The number of principal affirmative applications filed has increased
from 28,108 in fiscal year 2010 to 56,959 in fiscal year 2014, a 103
percent increase. The portion of affirmative asylum applicants noted as
dependents increased from 6,266 in fiscal year 2010 to 22,526 in fiscal
year 2014, a 259 percent increase. Table 2 shows the number of principal
and dependent affirmative asylum applications filed each year for fiscal
years 2010 through 2014.

Table 2: Principal and Dependent Affirmative Asylum Applications, Fiscal Years
2010 through 2014

Dependent Principal Total affirm ative
Fiscal year applications applications applications filed
2010 6,266 28,108 34,374
2011 8,473 34,675 43,148
2012 11,838 41,455 53,293

“IThese defensive applications do not include applicants who applied affirmatively with
USCIS and were referred to EOIR.

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practitioners, while the Fraud and Abuse Prevention Program can refer
cases to ICE HSI or other law enforcement agencies for criminal
investigation. The Disciplinary Counsel may choose to resolve potential
disciplinary issues prior to issuance of a Notice of Intent to Discipline by
taking certain confidential actions against a practitioner. Such confidential
discipline includes warning letters or informal admonitions for low-level
misconduct or for first-time offenders. According to EOIR’s Disciplinary
Counsel, confidential discipline is intended to educate the lawyer about
what he or she did wong and how to improve conduct in the future.
Public discipline imposed by the BIA includes a range of disciplinary
actions, such as public censure, suspension, or disbarment. Disbarment,
in which an attorney is prohibited from practicing law before EOIR’s
immigration courts and the BIA, is the most severe disciplinary sanction
that the BIA can impose. According to the Disciplinary Counsel, to date,
the Disciplinary Counsel has not prosecuted any original jurisdiction
cases to the point of disbarment, which means that the Disciplinary
Counsel has not requested disbarment for any attorneys who engaged in
asylum fraud and who were not already disbarred by their state barora
federal court. Disciplinary Counsel officials stated that they have not
initiated any original jurisdiction disbarments against attorneys in part
because of a lack of administrative resources to pursue such cases. The
Disciplinary Counsel has completed reciprocal disciplinary cases, in
which attorneys who may have engaged in fraud and have already been
suspended or disbarred by their state bar or by a federal court, or who
have been convicted of a crime, are also disbarred by EOIR. An attorney
who has been disbarred by a state bar or a federal court is permitted to
practice before the immigration courts until EOIR takes the proper
reciprocal action.

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Circuit Court Rulings and
Agency Priorities Play a
Role in Recent Decreases
in Asylum Terminations
due to Fraud

Asylum terminations due to fraud are not common and have decreased in
recent years. USCIS data indicate that USCIS terminated the asylum
status of 374 individuals for fraud from fiscal years 2010 through 2014. In
the same time period, USCIS granted asylum to 76,122 individuals. The
number of USCIS asylum terminations for fraud has decreased in recent
years, from 103 in fiscal year 2010 to 34 in fiscal year 2014. Fa final
order by an immigration judge or the BIA specifically finds that the
individual Knowingly filed a “frivolous” asylum application and the
individual initially received a warning regarding the consequences of filing

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